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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


  In re Celgene Corporation Securities Litigation.         Civil Action No. 18-04772 (JMV) (JBC)

                                                                 Document Filed Electronically

                                                        [PROPOSED] ORDER MODIFYING
                                                      THE CLASS PERIOD IN LIGHT OF THE
                                                          SUPREME COURT’S RECENT
                                                         DECISION IN GOLDMAN SACHS
                                                       GROUP, INC. v. ARKANSAS TEACHER
                                                            RETIREMENT SYSTEM



         THIS MATTER having been opened to the Court by Defendants through their attorneys,

  Gibbons P.C. and Jones Day, seeking an order modifying the class period in light of the Supreme

  Court’s recent decision in Goldman Sachs Group, Inc. v. Arkansas Teacher Retirement System pursuant to

  Federal Rule of Civil Procedure 23(c)(1)(C); and the Court having considered the parties’

  submissions in support of and in opposition to the Defendants’ Motion, as well as the arguments of

  counsel, if any; and for good cause having been shown:

         IT IS on this __ day of ________                2021,

         ORDERED that the Defendants’ Motion to Modify the Class Period in Light of the

  Supreme Court’s Recent Decision in Goldman Sachs Group, Inc. v. Arkansas Teacher Retirement System is

  hereby GRANTED; and it is

         FURTHER ORDERED that the class period be modified to end on February 27, 2018,

  rather than April 27, 2018.




                                                        Hon. John Michael Vazquez, U.S.D.J.
